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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------x
                                                                  :
J.C.,                                                             :
                                                                  :
                           Plaintiff,                             :
                                                                  : Case No. 22-cv-00323-KPF
         -against-                                                :
                                                                  : Oral Argument Requested
ROBERT ALLEN ZIMMERMAN a/k/a BOB
                                                                  :
DYLAN,
                                                                  :
                           Defendant.                             :
                                                                  :
                                                                  :
------------------------------------------------------------------x


                     MEMORANDUM OF LAW IN SUPPORT OF
                DEFENDANT BOB DYLAN’S MOTION FOR SANCTIONS
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          Defendant Bob Dylan moves pursuant to Federal Rule of Civil Procedure 37 for

sanctions against Daniel Isaacs and Peter Gleason, counsel for Plaintiff, for extensive discovery

misconduct and repeated violations of the Court’s Orders in the above-captioned matter.

                                  PRELIMINARY STATEMENT

          Defendant regrets having to file this motion seeking sanctions against Plaintiff’s counsel.

But counsel’s repeated violations of the discovery rules and multiple court orders—and the

significant costs Defendant incurred as a result—compel this motion. This is a paradigm case for

sanctions to punish and deter discovery misconduct, and to preserve the integrity of our legal

system.

          In August 2021, Plaintiff’s counsel filed a complaint in New York State Supreme Court

publicly and falsely accusing Defendant of sexually abusing a minor over multiple weeks over

56 years ago, in April and May of 1965. Counsel filed the Complaint even though the most

rudimentary investigation would have revealed the claims to be false. Counsel did not, for

example, even attempt to speak to any of Plaintiff’s siblings (including one who shared a room

with Plaintiff during the relevant period), who would have told them Plaintiff’s allegations were

untrue. They apparently did not even review Mr. Dylan’s widely and publicly available 1965

touring schedule, which would have revealed he was on tour in California, British Columbia, and

the UK for almost the entirety of April and May 1965. Lastly, and most critically to the instant

motion, Mr. Gleason represented to the Court at the July 28, 2022 conference that he and

Mr. Isaacs did not even collect, let alone review, over a thousand pages of documents in

Plaintiff’s possession that purportedly related to Mr. Dylan—not before they filed the action, and

not at any point after. Had they reviewed the documents, they would have learned facts that

undermine and cast an avalanche of doubt on the asserted claims.
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       The inescapable conclusion is that Mr. Isaacs and Mr. Gleason never intended to actually

litigate this action. Instead, they filed the Complaint knowing it would generate worldwide

media coverage, which it did, and then spent months trying to leverage that publicity and the

threat of embarrassment to extract a settlement payment.

       Mr. Isaacs and Mr. Gleason’s actions after this case was removed to this Court confirmed

they had no interest in litigating the merits of the case. Instead, they executed a delay-and-

obstruct playbook by flouting their obligations under the Federal Rules and this Court’s orders.

Mr. Isaacs and Mr. Gleason’s most egregious discovery failure was their refusal to produce

documents in violation of both the discovery rules and this Court’s orders. It took almost four

months, numerous letters to the Court, and two explicit warnings from this Court regarding

failure to comply with discovery obligations for Mr. Isaacs and Mr. Gleason to produce even a

single document. When that production finally came—nearly one year into the litigation—it was

woefully insufficient. Mr. Isaacs sent 49 pages of materials as a single PDF with no separation

between documents or Bates stamps, and with many of the pages scanned so sloppily, they were

unreadable. Worse, the production did not include a single email or electronic communication,

despite Mr. Isaacs and Mr. Gleason having had in their possession for a month at least 60

responsive emails to and from Plaintiff that were produced by others in response to third-party

subpoenas.

       Recognizing the seriousness of the unfolding discovery misconduct, on July 15, 2022, the

Court ordered Plaintiff and her counsel to produce by July 22, 2022 all documents responsive to

Defendant’s First Set of Requests for Production (“July 15 Order”), ECF No. 36 ¶ 1, which had

been served in March. At a conference with the parties that same day, the Court warned that it




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would entertain a motion for sanctions if Plaintiff and counsel failed to produce the documents.

ECF No. 42 (July 15, 2022 Tr.) at 18:14–20.

       Plaintiff and counsel did not comply with that order. Instead, just three days before the

Court-ordered deadline, Mr. Isaacs filed a letter stating Plaintiff had “discharged” him and Mr.

Gleason. ECF No. 38. This turned out to be a misrepresentation and a ploy by Mr. Isaacs and

Mr. Gleason to avoid the consequences of their discovery failures. At the July 28, 2022

conference the Court convened to discuss the purported “discharge,” Mr. Gleason admitted that

they had not been discharged by Plaintiff. Rather, he and Mr. Isaacs tried to terminate their

representation when, he said, Plaintiff would not allow them to review several boxes of

documents. When the Court reminded Mr. Isaacs and Mr. Gleason they remained Plaintiff’s

counsel until the Court ordered otherwise, and they had violated the July 15 Order by failing to

produce any additional documents, Mr. Isaacs and Mr. Gleason conferred privately with

Plaintiff, who then dismissed the case with prejudice.

       Ultimately, Defendant was subjected to almost a year of litigation—facing the most

heinous allegations imaginable—in which Plaintiff’s counsel engaged in a pattern of deliberate

discovery misconduct and violations of this Court’s rules and orders. These many discovery

failures could have been avoided if Mr. Isaacs and Mr. Gleason had complied with their most

basic obligations. They should have collected and reviewed Plaintiff’s electronic

communications and other documents before filing the Complaint—particularly given the

alleged events took place in 1965. No reasonable attorney would have brought the case after

reviewing the “evidence.” But even putting this failure aside, they had months to collect these

materials after Defendant served his First Set of Requests for Production in March 2022. If it is

true, as they now state, that Plaintiff refused to hand over responsive documents, Mr. Isaacs and



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Mr. Gleason should have brought the issue to the Court’s attention in April, when the documents

were due to be produced, not in July, after having violated a court order and when standing in the

well of the courtroom. Their failure to do so required Defendant to spend numerous hours of

attorney time chasing Mr. Isaacs and Mr. Gleason for discovery responses and writing letters to

the Court, all the while complying with Defendant’s own discovery obligations and preparing his

defense. Even worse, Defendant was forced to conduct several depositions in the case (at

considerable expense) with an incomplete document record, even though Plaintiff’s counsel

knew there were documents they were obligated to produce but had nonetheless withheld.

         Mr. Isaacs and Mr. Gleason’s conduct in this case is inexcusable. They refused to follow

the rules, repeatedly violated the Court’s orders—even under the threat of sanctions—and, then,

in a desperate effort to avoid compliance, misrepresented to the Court they had been

“discharged.” Mr. Isaacs and Mr. Gleason should not be permitted to get away scot-free.

Plaintiff’s counsel’s dishonest conduct and multiple violations of this Court’s rules and orders

warrant the imposition of sanctions under Rule 37(b)(2) in the amount of $50,000 as well as

Defendant’s fees and costs in bringing this motion.

                                                BACKGROUND

A.       Mr. Isaacs and Mr. Gleason File the Complaint in Search of a Quick Payout

         On August 13, 2021, Mr. Isaacs and Mr. Gleason filed the Complaint (“Compl.”), Ex. A,

alleging that “over a six-week period between April and May of 1965,” Defendant “befriended

and established an emotional connection with plaintiff, J.C., to lower her inhibitions with the

object of sexually abusing her, which he did.” 1 Compl. ¶ 1. The Complaint generated significant
                                                       0F




media coverage. Mr. Isaacs and Mr. Gleason surely knew it would, as Defendant is one of the


1
  Citations to “Ex. __” refer to exhibits to the Declaration of Brian Ascher, dated October 3, 2022, filed in support of
this motion.

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most famous public figures on the planet and, until this case, had never been accused of sexual

misconduct by anyone.

        After the initial round of press coverage, not a single other accuser stepped forward (nor

has anyone in the time since). Widely published reports cast serious doubt on the allegations.

See, e.g., Ex. B (Aug. 19, 2021 Rolling Stone Article reporting “[i]t is almost impossible to find

one week—let alone six—that spring when Dylan could have been staying at the Chelsea Hotel,”

where the Complaint alleged the abuse occurred). Nevertheless, Mr. Isaacs and Mr. Gleason

persisted in seeking a multimillion-dollar payout from Defendant under threat of further negative

publicity arising from the lawsuit.

        Counsel for Defendant met with Mr. Isaacs in person twice to discuss the specifics of

Plaintiff’s story. The “facts,” as reported by Mr. Isaacs, were fantastical and obviously fabricated.

After those two meetings, counsel for Defendant made clear to Mr. Isaacs that Defendant would

never pay a cent to settle these false claims. See Ex. C (Answer) at 1 (“Mr. Dylan will not be

extorted.”).

B.      Mr. Isaacs and Mr. Gleason Attempt to Delay the Start of Discovery

        Defendant removed the action to this Court on January 12, 2022. See ECF No. 1. On

February 9, 2022, the Court scheduled the Initial Pretrial Conference for March 18, 2022. ECF

No. 13 at 2. Rule 26(f)(1) required the parties to meet and confer at least 21 days before that

conference, which, in this case, meant no later than February 25, 2022. The parties agreed to

meet on February 23, but Mr. Isaacs cancelled the meeting just hours before. Ex. D at 1.

        On February 25, 2022, Mr. Gleason sent a letter to Gibson, Dunn & Crutcher’s Managing

Partner demanding the firm “withdraw immediately” from the representation of Defendant. Ex.

E at 1. Mr. Gleason alleged in bad faith that Gibson Dunn was conflicted because 13 years prior,

a Gibson Dunn partner uninvolved in this case had represented Mr. Gleason and nearly 30 other
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individuals in a pro bono suit challenging the constitutionality of local term limits. Id. On

March 1, 2022, Mr. Isaacs emailed counsel for Defendant stating that he would not meet and

confer, as Rule 26 required, until after the resolution of a disqualification motion he intended to

bring. Ex. F.

        On March 6, 2022, Mr. Gleason filed a pre-motion letter seeking to disqualify Gibson

Dunn from the representation of Defendant. ECF No. 15. Defendant’s counsel responded the

next day. ECF No. 17. In addition to explaining why Mr. Gleason’s disqualification effort was

frivolous, defense counsel’s letter also informed the Court that Mr. Isaacs and Mr. Gleason were

using the pre-motion letter as a litigation tactic to avoid participating in a Rule 26 conference and

thereby delay discovery. Id. at 1. On March 8, 2022, the Court directed the parties to be

prepared to discuss the disqualification issue at the March 18 pretrial conference, and

“remind[ed]” the parties “of their obligation to submit the materials described in the notice of

initial pretrial conference on or before March 10, 2022.” ECF No. 18 at 4.

        On notice that the Court would not tolerate any discovery delay based on their frivolous

disqualification effort, Plaintiff’s counsel finally emailed counsel for Defendant on March 10—

the day the joint Case Management Plan and explanatory cover letter were due—to suggest the

parties meet and confer, which defense counsel did, despite having already prepared the required

documents without Mr. Isaacs’ input. Ex. G. At the March 18, 2022 initial pretrial conference,

the Court denied Mr. Gleason’s request to bring a disqualification motion, noting that it had “not

seen comparable cases where disqualification is predicated on prior representation of a party’s

attorney” (emphasis added), and that “[i]t is obvious . . . your prior experience with the Gibson,

Dunn firm and this current case, they are in no way related.” ECF No. 23 (March 18, 2022 Tr.) at




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4:22–5:2. The disqualification effort and unilateral stay of discovery was only the first of

Mr. Isaacs and Mr. Gleason’s many bad-faith discovery tactics.

C.      Mr. Isaacs and Mr. Gleason Repeatedly Promise Discovery Responses, Grant
        Themselves Unilateral Extensions, and Still Fail to Deliver

        At the March 18, 2022 preliminary conference, the Court stated it would endorse the

parties’ Case Management Order, and directed the parties to “get started on your discovery,”

noting it is “not very interested in extending discovery deadlines.” Id. at 15:8–12. With that

guidance in mind, Defendant served his First Set of Requests for Production and First Set of

Interrogatories that same day, with Plaintiff’s responses due on April 18, 2022. See ECF No. 25

at 1. Mr. Isaacs and Mr. Gleason waited until the day Plaintiff’s responses were due to request a

two-week extension, to Monday, May 2. Ex. H. As a courtesy, Defendant consented. See ECF

No. 25 at 1. On Thursday, April 28 2022, counsel for Defendant reached out to Mr. Isaacs to

confirm that Plaintiff’s discovery responses would be sent on May 2. Id. Mr. Isaacs confirmed

that he would “have our initial responses . . . by Monday [May 2], also as promised.” Id.

        Mr. Isaacs did not deliver the responses on May 2 “as promised.” As explained in

defense counsel’s May 16, 2022 letter to the Court, for the next two weeks, Mr. Isaacs repeatedly

assured counsel he was “working away” and would serve responses “in the next day or two,”

only to fail to deliver and demand more time. Id. at 1–2. After more than half a dozen of these

unilateral extensions, it was obvious that Mr. Isaacs and Mr. Gleason would never provide the

discovery responses without court intervention. Defense counsel wrote to the Court on May 16,

2022, nearly a month after the responses were due, to request the Court to direct Plaintiff’s

compliance. Id.

        Mr. Isaacs filed a response on May 23, 2022, admitting he “had promised to provide

responses but failed to do so.” ECF No. 26. Mr. Isaacs blamed this failure on competing

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professional obligations and a trip he took to Ghana. Id. He stated without explanation that he

required an additional week, until May 30, 2022 to provide the responses. Id. As early as May

2, 2022 Mr. Isaacs had been representing to Defendant that the responses were nearly complete

and he only required one additional day. ECF No. 25 at 1–2.

        On May 24, 2022, the Court ordered Plaintiff to serve responses to Defendant’s initial

interrogatories and requests for production by May 30, 2022 the date Mr. Isaacs had requested.

ECF No. 27 at 2. The Order also “cautioned that future failures to meet the discovery deadlines

set forth in the parties’ case management plan or this Court’s rules of individual practice will not

be tolerated.” Id. On May 30, 2022, Plaintiff served (deficient) responses to Defendant’s First

Set of Interrogatories, but failed to provide responses to Defendant’s First Requests for

Production. See ECF No. 28 at 1–2. Defendant wrote the Court the next day, May 31, 2022, to

request a discovery conference regarding the missing responses. Id. Plaintiff finally provided

(deficient) responses to Defendant’s Requests for Production later that day, so Defendant

withdrew his request for a conference. See ECF No. 29. Even so, the Court issued an order

warning that if “Plaintiff continues to neglect her responsibilities in this case, the Court will take

appropriate action at that time.” 2 ECF No. 30 at 2.
                                     1F




        In addition to being late, Plaintiff’s discovery responses also contained numerous

substantive deficiencies. Defendant first sought to resolve these deficiencies directly with

Mr. Isaacs and Mr. Gleason, and on June 8, 2022, wrote a letter with a detailed explanation

regarding how to bring the responses into compliance. Ex. K. Further, Mr. Isaacs and



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  Plaintiff’s counsel’s obstruction and refusal to comply with the rules continued when it came to providing HIPAA
authorizations. As Defendant informed the Court on May 16, 2022, defense counsel reached out to Mr. Isaacs on
April 28, 2022 to inquire about Plaintiff’s HIPAA authorizations, which were due on April 18. See ECF No. 25 at 1.
While Mr. Isaacs eventually provided a subset of the owed HIPAA authorizations on May 3, Ex. I, several more
were missing, and at least four of the provided authorizations contained incorrect or incomplete information such
that Defendant was unable to actually serve subpoenas. See Ex. J.

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Mr. Gleason still had not given any indication of when they would actually produce Plaintiff’s

documents, despite Defendant’s Requests for Production having been served three months prior.

Defendant, on the other hand, had conducted an extensive review of his archives and produced

essentially every document, photograph, and scrap of paper dating to spring 1965 or otherwise

related to issues Plaintiff had raised. Defendant had also, on June 1, 2022, produced

approximately 60 relevant emails to and from Plaintiff, which he had obtained via third-party

subpoenas. See ECF No. 44 at 1.

       At Defendant’s request, the parties met and conferred on June 16, 2022 regarding the

interrogatory deficiencies, missing or incomplete HIPAA authorizations, and missing documents.

See Ex. L. At the meet-and-confer, Mr. Isaacs agreed to (generous) continued deadlines for

Plaintiff’s outstanding discovery obligations, the most crucial of which being that Plaintiff would

produce substantially all documents responsive to Defendant’s First Set of Requests for

Production—which were served in March—by June 30, 2022. Id. at 1.

D.     Mr. Isaacs and Mr. Gleason Fail to Produce Documents and the Court Again
       Orders Them to Comply with Their Discovery Obligations

       Mr. Isaacs and Mr. Gleason did not meet the June 30 document production deadline. As

Defendant informed the Court on July 1, 2022, Mr. Isaacs and Mr. Gleason sent a single PDF

containing a paltry 49 pages of materials. ECF No. 33 at 2. Many of the pages were cut off or

illegible as a result of being carelessly scanned by counsel. Because the pages were not Bates-

stamped or otherwise marked, it was impossible to tell where one document ended and another

began. The PDF itself consisted of several incoherent letters Plaintiff had written to various

publications, entertainment executives, and even a U.S. senator regarding Defendant, the poet

Allen Ginsberg, Elvis Presley, and other popular figures.




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       Our July 1, 2022 letter to the Court stated that no reasonable attorney could have brought

the case based on these materials, which raised serious concerns about Plaintiff’s competency

and cast further doubt on the veracity of her claims. Id. at 2–3. But what was missing from the

document production raised even more serious concerns. It did not include any emails, text

messages, or other electronic communications—not even one of the many emails to and from

Plaintiff that Defendant acquired from third parties and provided to Plaintiff a full month earlier,

on June 1, 2022. Id. at 2. We believed, and Mr. Isaacs later confirmed, that the omission

indicated Mr. Isaacs and Mr. Gleason had never collected or reviewed Plaintiff’s emails or text

messages, despite being on notice for months—since March 18, 2022—that Defendant was

demanding relevant electronic communications. See ECF No. 42 (July 15, 2022 Tr.) at 15:3

(MR. ISAACS: . . . “My client only provided me with a couple of emails.”). We promptly

requested a conference with the Court, which took place on July 15, 2022. See ECF No. 33.

       Mr. Isaacs and Mr. Gleason never objected to Defendant’s request for, or disputed the

relevance of, Plaintiff’s electronic communications. Nor could they. In the limited set of

electronic communications Defendant received from third parties, Plaintiff directly and

extensively discussed her specific factual allegations and their plausibility, and made a series of

contradictory explanations for the obvious impossibilities in her story. But at the July 15, 2022

conference, Mr. Isaacs blamed counsel’s failure to collect, review, or produce Plaintiff’s

communications on the fact that he is “a solo practitioner” and was busy with a trial earlier in the

year. ECF No. 42 (July 15, 2022 Tr.) at 14:22–15:2. Mr. Isaacs did not explain why

Mr. Gleason, his co-counsel, was unable to handle the document collection, or why his trial

justified a four-month delay in even collecting Plaintiff’s electronic communications. As the

Court reminded him, “[i]f you believed that you needed more time because of the specifics of



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your practice, that’s something you should have told me about some time ago.” 3 Id. at 17:24–    2F




18:1.

         Mr. Isaacs and Mr. Gleason also demonstrated a lack of candor at the July 15, 2022

conference. Mr. Isaacs spoke first and represented that “once I give them these last few text

messages, which I just received, we have nothing other, at this point, to provide.” Id. at 4:7–9.

Defense counsel then explained that Defendant had taken a deposition the day before, on July 14,

2022, and Mr. Isaacs “with his own eyes, saw—because I offered into evidence—dozens of

emails with his client. So how he can tell this Court right now in a representation that there are

one or two . . . is of concern.” Id. at 13:24–14:5. The Court then asked Mr. Isaacs, “[h]ow are

you comfortable representing to me this morning that your client gave you a couple

[communications] that you will be producing, knowing that there were these others out there?”

Id. at 15:23–16:2. Mr. Isaacs dissembled, stating that Plaintiff “has a lot of emotional issues,”

and promising to “personally go there, go through every single email,” but did not explain his

obvious misrepresentation minutes earlier that only a “few text messages” remained to be

produced. Id. at 16:6–16.

         The Court invited Defendant to submit a draft order proposing firm production deadlines,

and provided a stern warning:

         The problem that I have is, at some point, I actually have to abide by the written
         warnings that I give, and so I’ve tried, as hard as I can, to give you latitude and
         space to work out these discovery issues, but at some point, I’m just going to come
         to believe that you are not abiding by my orders or that your client is incapable of
         providing truthful responses to discovery issues. And that will be a problem, and
         you have to know that that’s the case. I don’t know how to tell you that there is a
         line that you’re about to cross, but I am saying — and I think this is something I’m
         comfortable saying right now — if it turns out that you start producing things after

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 As defense counsel informed the Court at the July 28, 2022 conference, Mr. Isaacs and Mr. Gleason’s inexcusable
contention that they did not have time to meet their obligations in this action is further undermined by the fact that
Mr. Gleason was actively running for congress, and Mr. Isaacs was apparently exploring a run for public office
himself. See July 28, 2022 Tr. 25:18–23; ECF No. 34 at 1.

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       the 22nd of July, or you start producing things beyond the 15th of August, I
       absolutely am going to entertain sanctions motions because I think it’s ridiculous.
Id. at 18:6–20. The Court entered the July 15 Order that day directing Plaintiff to produce all

documents responsive to Defendant’s First Requests for Production—which had been served

four months prior—by July 22, 2022. ECF No. 36 ¶ 1.

E.     Under Threat of Sanctions, Mr. Isaacs and Mr. Gleason Misrepresent That Plaintiff
       “Discharged” Them Three Days Before the July 22 Deadline

       On July 19, 2022, just three days before the document production deadline set by the

Court, and facing the threat of sanctions, Mr. Isaacs filed a letter with the Court stating that, “I,

together with my co-counsel, Peter J. Gleason, have been discharged by the Plaintiff as her

attorneys in the above referenced matter.” ECF No. 38. Defense counsel wrote the Court the

next day, noting that Mr. Isaacs’ letter was alarming for multiple reasons. ECF No. 39. First, it

did not comply with the requirements for withdrawal under the Court’s Local Rules. Second,

and most importantly, “[t]he timing of counsel’s letter, coming on the heels of last Friday’s

conference, . . . appears designed to evade Court-ordered document production obligations and

the threat of sanctions.” Id. at 1. The Court promptly set an in-person conference for the

following week, July 28, 2022. ECF No. 41. Meanwhile, the July 22, 2022 document

production deadline passed without a single additional document being produced, and with Mr.

Isaacs and Mr. Gleason remaining counsel of record (despite their effort to exit the case).

F.     Plaintiff Dismisses the Action After Mr. Gleason Admits Plaintiff Did Not
       Voluntarily Discharge Counsel and Counsel Never Collected or Reviewed
       Thousands of Pages of Documents

       At the July 28, 2022 conference, the Court confirmed that Mr. Isaacs and Mr. Gleason

remained counsel of record. July 28, 2022 Tr. at 2:21–22 (“From my perspective, there wasn’t a




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discharge from me.”). 4 The Court also stated that “it wasn’t quite clear to me that the obligations
                          3F




and the deadlines, to which you agreed, were now suddenly by the boards,” and that the Court

did not “like feeling as though I am being played.” Id. at 2:24–3:1.

        Despite only ever producing 49 pages of largely incomprehensible letters apparently

authored by Plaintiff, Mr. Isaacs represented at the conference that “before the commencement

of this action” he had “asked repeatedly to be provided both documents and information so I

could review it, in addition to doing my own research.” Id. at 3:21–24. This claim is flatly

contradicted by Mr. Isaacs’ admission that he and Mr. Gleason waited until July 18, 2022, the

Monday after the July 15 Order, to travel to Plaintiff’s residence and finally, four months after

Defendant served his Requests for Production, review his client’s computer and discuss with her

how to comply with Defendant’s requests. Id. at 5:15–24.

        Mr. Gleason spoke at the July 28 conference next, claiming he returned to Plaintiff’s

residence to collect the documents on July 19, 2022, but Plaintiff instead handed him “a paper

file” containing only “a few documents.” Id. at 7:2–7. Mr. Gleason stated he told Plaintiff he

knew there must be more documents, as Defendant had produced “a large amount of emails that

[Plaintiff] shared with [her] sister,” at which point Plaintiff apparently “pointed to . . . three

boxes on the floor.” Id. at 7:6–9. Mr. Gleason said each of these boxes appeared to contain

approximately 500 pages of material, which Plaintiff told him she had “kept regarding the Dylan

matter.” Id. at 7:10–16.

        According to Mr. Gleason, Plaintiff would not turn over the documents because “she

would be embarrassed of the contents.” Id. at 8:1–2. Mr. Gleason said he told Plaintiff at that


4
 The Court sealed the transcript of July 28, 2022, after Mr. Gleason repeatedly identified Plaintiff, who filed the
Complaint anonymously, by her legal name. July 28, 2022 Tr. 11:19. Defendant is therefore omitting the transcript
as an exhibit to the Ascher Declaration, and is not citing in this brief any portions of the transcript containing
Plaintiff’s personally identifying information.

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point, “you have two choices. Either Mr. Isaacs and myself are going to make a motion to the

Court to withdraw as your counsel, because you’re not cooperating with us, or B, you can

terminate our services.” Id. at 8:25–9:3. To state the obvious, these are not real choices.

Mr. Gleason admitted Plaintiff did not choose to “discharge” counsel, and the representation

Mr. Isaacs made in his July 19, 2022 letter to the Court was false. In reality, the supposed

“discharge” was, according to Mr. Gleason, a result of counsel’s inability to meet the production

obligations set forth in the Court’s July 15 Order, ECF No. 36, which they had agreed to just

days prior. Mr. Gleason’s statements to the Court leave no room for doubt: Mr. Isaacs and

Mr. Gleason violated their duty of candor to the Court, misrepresenting their “discharge” in the

hope they could yet again evade their discovery obligations, and avoid consequences for their

many failures to comply with the Court’s Orders (ECF Nos. 27, 30, 35).

       After conferring with Mr. Isaacs and Mr. Gleason during a recess, Plaintiff decided to

dismiss the action with prejudice. July 28, 2022 Tr. at 35:11–25. The Court acknowledged the

dismissal “may not moot all of the issues” and invited Defendant to “let me know if there’s

anything left for me to do.” Id. at 36:6–15. In consideration of the Court’s statement at the July

15, 2022 conference that if counsel again shirked their discovery obligations, it would

“absolutely entertain sanctions motions because I think it’s ridiculous,” ECF No. 42 (July 15,

2022 Tr.) at 18:18–20, Defendant filed a letter on August 4, 2022 seeking permission to file a

motion for sanctions against Mr. Isaacs and Mr. Gleason under Rule 37(b)(2). ECF No. 45. On

August 8, 2022, the Court granted permission to bring the instant motion. ECF No. 46.

                                      LEGAL STANDARD

       Rule 37 sets out procedures for enforcing discovery obligations and sanctioning

misconduct. Rule 37(b) authorizes sanctions against a party that “fails to obey an order to



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provide or permit discovery.” Fed. R. Civ. P. 37(b)(2)(A). “The only predicates to the

imposition of sanctions” are “a court order directing compliance with discovery requests,” and

“non-compliance with that order.” Joint Stock Co. Channel One Russia Worldwide v. Infomir

LLC, 2018 WL 4760345, at *6 (S.D.N.Y. Sept. 28, 2018). An “evasive or incomplete disclosure,

answer, or response [is] . . . treated as a failure to disclose, answer, or respond.” Fed. R. Civ. P.

37(a)(4). When determining the appropriate sanction, courts weigh several factors, including:

“(1) the willfulness of the non-compliant party; (2) the efficacy of lesser sanctions; (3) the

duration of the noncompliance; and (4) whether the non-compliant party had been warned that

noncompliance would be sanctioned.” Guggenheim Cap., LLC v. Birnbaum, 722 F.3d 444, 451

(2d Cir. 2013). Compensation for fees is an appropriate remedy under Rule 37(b), including fees

incurred as a result of counsel’s discovery failures preceding the specific violation of the order of

the Court. Auscape Intern. v. Nat’l Geographic Soc’y, 2003 WL 21976400, at *6 (S.D.N.Y. Aug

19, 2003).

                                           ARGUMENT

A.     Mr. Isaacs and Mr. Gleason Should Be Sanctioned under Rule 37(b)(2) for Their
       Willful and Continuous Discovery Violations

       “Provided that there is a clearly articulated order of the court requiring specified

discovery, the district court has the authority to impose Rule 37(b) sanctions for noncompliance

with that order.” Daval Steel Prods. v. M/V Fakredine, 951 F.2d 1357, 1363 (2d Cir. 1991). The

Court’s July 15, 2022 Order could not have been clearer. It required that “Plaintiff will produce

all documents responsive to Defendant’s First Set of Requests for Production on or before July

22, 2022.” ECF No. 35 ¶ 1. Plaintiff and counsel violated the Order when they failed to produce

a single additional document. “Despite several warnings, [counsel] continued to disregard the

discovery process and disobey the Court’s Orders.” In re Thilman, 548 B.R. 1, 8 (Bankr.

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E.D.N.Y. 2016). Mr. Isaacs and Mr. Gleason did not, for example, produce the documents Mr.

Gleason stated Plaintiff had offered to provide him. See July 28, 2022 Tr. at 7:2–5 (“When I

visited the plaintiff at her residence, she had a paper file, which she handed me . . . . There were

a few documents in there”). Nor did Mr. Isaacs and Mr. Gleason alert the Court or Defendant to

the fact that Plaintiff had over a thousand pages of supposedly relevant documents that she

refused to produce. Instead, Mr. Isaacs and Mr. Gleason sought to exit the case and avoid

punishment, misrepresenting to the Court that they had been “discharged.” See supra at 14.

       Mr. Isaacs and Mr. Gleason’s unsuccessful attempt to unilaterally exit the litigation ahead

of the Court-ordered July 22, 2022 production deadline did not relieve them of their obligations

under the Court’s July 15 Order, ECF No. 35, or the Court’s prior orders directing them to

comply with discovery deadlines, ECF Nos. 27, 30, which they violated when they failed to

produce any additional documents. Mr. Isaacs’ July 19 letter, ECF No. 38, did not comply with

Local Civil Rule 1.4, which requires the withdrawing attorney demonstrate a satisfactory reason

for withdrawal and be granted leave by the court. As the Court reminded Mr. Isaacs and

Mr. Gleason at the July 28 conference, “[f]rom my perspective, there wasn’t a discharge from

me,” and they remained Plaintiff’s counsel. July 28, 2022 Tr. at 2:21–22. The Court also

recognized Mr. Isaacs and Mr. Gleason’s violation of the “obligations and deadlines, to which

[they] agreed,” in the July 15 Order, which was not “suddenly by the boards.” Id. at 2:24–3:1.

       Rule 37(b) permits the Court to hold “counsel personally liable for expenses” for “failure

to comply with discovery orders.” Roadway Exp., Inc. v. Piper, 447 U.S. 752, 753 (1980).

Courts have sanctioned counsel personally for the exact conduct at issue here: failing to

adequately supervise document production, resulting in the failure to produce documents. In

Metropolitan Opera Association, Inc. v. Local 100, Hotel Employees and Restaurant Employees



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International Union, for example, the court sanctioned counsel for failing to produce documents

against the backdrop of a pattern of discovery misconduct by counsel that is very similar to what

occurred here:

       Certainly when counsel learned that their client[] . . . had not understood that e-
       mails were called for and had not retained electronic documents or drafts, they
       should have had ‘reason to question’ the completeness of defendants’ productions
       (and the adequacy of their own supervision) . . . . Yet counsel persisted in ignoring,
       indeed belittling, the [opposing counsel’s] inquiries concerning the patent lack of
       production of e-mails, computer files and drafts until . . . I told them . . . that their
       failure to search for and to have instructed their clients to save computer-generated
       documents was inexcusable and directed them to inquire of their clients and to
       comply with their discovery obligations forthwith. Even then, counsel’s disregard
       for their obligations continued . . . .

212 F.R.D. 178, 223 (S.D.N.Y. 2003).

Here, as in Metropolitan Opera Association, “[t]here can be no doubt that counsel’s repeated

representations that all responsive documents had been produced were not the result of a

reasonable inquiry, that counsel failed to stop and think about their responses, and that counsel

did not engage in discovery responsibly.” Id. at 224.

       Plaintiff’s counsel’s conduct is particularly egregious because they made repeated false

representations regarding the completeness of their production. After making a woefully

insufficient production of documents—which they did only after Defendant sought Court

intervention to force them to respond to long-pending discovery requests—counsel

misrepresented to the Court that only a “last few text messages” remained to be produced. ECF

No. 42 (July 15, 2022 Tr.) at 4:7–9. Counsel made this misrepresentation despite being aware of

dozens of responsive and highly relevant emails Plaintiff had never produced, supra at 10–11,

and despite the fact that counsel had never actually searched Plaintiff’s electronic devices. See

ECF No. 42 (July 15, 2022 Tr.) at 15:3–5 (“My client only provided me with a couple of emails.

What I’m going to be doing is I’m going to take that computer, and I’m going to go through it

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with her . . . .”). Even counsel’s belated promise—made four months after Defendant served

document requests and nearly a year into the litigation—to finally search Plaintiff’s devices and

produce documents went unfulfilled, in violation of the Court’s July 15 Order, ECF No. 35 ¶ 1.

“[A]ttorneys owe an ethical duty of candor in all of their dealings with the Court.” Syntel

Sterling Best Shores Mauritius Ltd. v. TriZetto Grp., 328 F.R.D. 100, 118 (S.D.N.Y. 2018).

Neither Mr. Isaacs’ representation that Plaintiff’s production was essentially complete nor his

representation that he and Mr. Gleason had been “discharged” when they again failed to produce

documents met that duty.

        Where, as here, counsel “has repeatedly failed to comply with this Court’s directives,” it

is appropriate that they be sanctioned under Rule 37(b). DeCastro v. Kavadia, 309 F.R.D. 167,

185 (S.D.N.Y. 2015); Worldcom Network Servs., Inc. v. Metro Access, Inc., 205 F.R.D. 136, 142

(S.D.N.Y. 2002) (sanctioning counsel under Rule 37(b) where “evidence suggests that the failure

to comply with the [] order was either willful or represented a cavalier attitude with respect to the

Court’s deadlines”).

B.      Second Circuit Precedent Supports Significant Penalties Against Mr. Isaacs and Mr.
        Gleason

        Under Second Circuit authority, four factors are considered in determining the propriety

of sanctions: “(1) the willfulness of the non-compliant party; (2) the efficacy of lesser sanctions;

(3) the duration of the noncompliance; and (4) whether the non-compliant party had been warned

that noncompliance would be sanctioned.” Guggenheim Cap., 722 F.3d at 451. Each factor

overwhelmingly weighs in favor of holding Mr. Isaacs and Mr. Gleason personally accountable

for some portion of the costs and fees Defendant incurred as a result of their misconduct.

     1. Factor 1: Mr. Isaacs and Mr. Gleason’s Non-Compliance with Discovery
        Obligations Was “Willful”



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       “Noncompliance with discovery orders is considered willful when the court’s orders have

been clear, when the party has understood them, and when the party’s noncompliance is not due

to factors beyond the party’s control.” In re Fosamax Prod. Liab. Litig., 2013 WL 1176061, at

*2 (S.D.N.Y. Mar. 21, 2013). “It is particularly important to consider a party’s course of

conduct throughout the litigation when evaluating willfulness,” Martinez v. City of New York,

2018 WL 604019, at *23 (E.D.N.Y. Jan. 24, 2018), as “[t]aken out of context, perhaps, any

individual incident of discovery misconduct may appear forgivable—especially when framed by

some post hoc excuse that rings of reasonableness,” Local Union No. 40 of the Int’l Ass’n of

Bridge v. Car-Wi Constr., 88 F. Supp. 3d 250, 264 (S.D.N.Y. 2015). See generally Cine Forty-

Second St. Theatre Corp. v. Allied Artists Pictures Corp., 602 F.2d 1062, 1068 (2d Cir. 1979)

(“sanctions must be weighed in light of the full record in the case”).

       There is no question the Court’s order to produce responsive documents by July 22, 2022

was clear and understood by Plaintiff’s counsel. At the July 28, 2022 conference, Mr. Isaacs said

he did not “disagree with the frustration of defendant’s counsel in terms of getting production of

documents. I agree with them. They have every right to them.” July 28, 2022 Tr. at 30:11–14.

Mr. Isaacs also stated:

       As the Court knows from our procedural history, when we did our initial response,
       we were given letters of deficiency with respect to production of documents and
       interrogatories, and I went back to our client and went over them repeatedly with
       her, asking her for information. We supplied supplemental interrogatory responses.
       I asked for additional documents. Again, as an officer of this court for 30 years, I
       know our obligations.

Id. at 30:16–23.

       There is also no doubt the many discovery failures here were the fault of Plaintiff’s

counsel and not attributable to factors outside of their control. Despite Mr. Isaacs’ last-ditch

effort to shift blame to his client, nothing about Plaintiff’s conduct explains away Mr. Isaacs’ and


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Mr. Gleason’s months-long campaign of evasion designed to avoid providing discovery

responses and producing documents. Mr. Isaacs and Mr. Gleason first tried to delay discovery

with a frivolous disqualification motion. Once discovery was underway, they consistently failed

to timely respond to duly served discovery requests. These routine failures were willful.

        For example, responses to Defendant’s First Set of Requests for Production and First Set

of Interrogatories were due on April 18, 2022. On that date, Mr. Isaacs and Mr. Gleason

requested a two-week extension, to May 2, 2022, only to blow past that deadline (despite

assurances the Thursday before that it would be met) by several weeks. In fact, they only served

responses to Defendant’s First Set of Interrogatories and Defendant’s First Set of Requests for

Production on May 30 and 31, 2022—over two months late—after Defendant was forced to seek

judicial intervention. Plaintiff’s counsel was also severely late in serving numerous HIPAA

authorizations Defendant needed to subpoena key witnesses.

        Plaintiff’s counsel’s misconduct concerning the production of documents (or lack

thereof) was even more egregious and prejudicial. When Mr. Isaacs and Mr. Gleason finally

produced documents on June 30, 2022—the date by which they agreed to produce substantially

all Plaintiff’s documents—they produced just a single 49-page PDF, without separating

individual documents and with many pages cut off and rendered illegible apparently as a result

of counsel’s own careless scanning. The deficient production did not include a single email—

even though Plaintiff’s counsel had known for at least a month that dozens of responsive emails

authored or received by Plaintiff existed, since Defendant himself produced email

communications he had acquired between Plaintiff and third parties. 5 Throughout this time,
                                                                                 4F




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  When challenged on the absence of emails from their production, Plaintiff’s counsel falsely represented to the
Court that they were only aware of “a couple of emails.” See EFC No. 42 (July 15, 2022 Tr.) at 15:3. This was
patently false as they were already in possession at that time of approximately 60 emails that had been produced by
third parties.

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Defendant spent hundreds of hours of attorney time complying with his discovery obligations,

deposing four key witnesses, and preparing his defense. Mr. Isaacs’ and Mr. Gleason’s “long

history of obstruction of discovery” in this case is relevant in assessing the propriety of sanctions

here. Penthouse Int’l, Ltd. v. Playboy Enters., Inc., 663 F.2d 371, 390 (2d Cir. 1981).

        Mr. Isaacs and Mr. Gleason are directly responsible for this pattern of serious discovery

misconduct, and any effort to blame their client should be rejected. At the last two hearings with

the Court, counsel sought to blame Plaintiff’s alleged “emotional issues” and “PTSD” for their

myriad discovery failures, including their failure to produce documents and their violation of the

July 15 Order. ECF No. 42 (July 15, 2022 Tr.) at 16:8–13; July 28, 2022 Tr. 8:6–9. Yet counsel

admit they relied entirely on Plaintiff to provide them with all the responsive documents, rather

than inspecting her devices or documents themselves. 6 ECF No. 42 (July 15, 2022 Tr.) at 6:18–
                                                               5F




21 (“I followed up with do you have extra emails, and she says I’m going to look, and got back.

She has some texts, a couple emails, but not much, and I will send them.”). They inexplicably

continued to rely on Plaintiff to compile a complete document production herself even after they

became aware she had failed to provide them dozens of responsive emails she exchanged with

third parties. See supra at 10–11. “[S]uch a failure by [counsel] in the face of [Defense]

counsel’s constant complaints of no adequate search and demonstrations of inadequate

production rises far above carelessness to willfulness.” Metro. Opera Ass’n, 212 F.R.D. at 215.

        Nor can Counsel’s discovery failures be excused by their competing obligations in other

matters. Mr. Isaacs repeatedly blamed his status as a “solo practitioner” and deadlines or

commitments in other cases for the discovery failures here. See ECF No. 42 (July 15, 2022 Tr.)



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  As we informed the Court on July 27, 2022, ECF No. 44, Mr. Isaacs and Mr. Gleason apparently failed to take any
steps to preserve Plaintiff’s electronic documents and communications, as required, which resulted in spoliation. A
key witness testified Plaintiff admitted to him that she had deleted relevant text messages. See id.

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at 14:22–15:2. This excuse makes no sense in light of Mr. Gleason’s role as co-counsel.

Regardless, “[t]he Court [should] not accept this as an excuse for disregarding the orders of the

Court.” Copeland v. Rosen, 194 F.R.D. 127, 134 (S.D.N.Y. 2000) (imposing sanctions where

attorney “frequently blamed her ‘inability’ to comply with court orders on the fact that she is a

sole practitioner and is very busy”). “It should go without saying that [counsel] should not take

on more clients than she can effectively represent.” Id. Mr. Isaacs and Mr. Gleason should not

have brought this action—accusing Defendant of heinous conduct—if they had not reviewed any

of the relevant documents and did not have time to litigate the case. “No attorney, from the

largest law firm to the sole practitioner, is permitted to practice law in this fashion.” Id.

    2. Factor 2: Monetary Sanctions Are the “Mildest” Sanction for Discovery
       Misconduct
        The “‘mildest’” sanction for discovery misconduct “‘is an order to reimburse the

opposing party for expenses caused by the failure to cooperate.’” Seena Int’l, Inc. v. One Step

Up, Ltd., 2016 WL 2865350, at *11 (S.D.N.Y. May 11, 2016) (quoting Cine Forty–Second St.

Theatre Corp., 602 F.2d at 1066). Plaintiff “must therefore pay [Defendant’s] reasonable fees

and costs necessarily incurred . . . to obtain the document discovery to which [he is] entitled,”

including costs incurred in bringing the motion for sanctions. Id. at *11–12. Here, rather than

seek the full amount of fees and costs incurred by Defendant as a direct result of Plaintiff’s

counsel’s discovery misconduct, Defendant seeks only $50,000. It is Defendant’s hope that this

award is sufficient to deter Mr. Isaacs and Mr. Gleason from putting another litigation adversary

through the months of frustration and expense Defendant endured as a result of their obvious

derelictions of duty in this action.




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          In addition, Defendant seeks the fees incurred in bringing this motion for sanctions—“the

minimum sanction contemplated by Rule 37 in cases where there has been a failure to comply

with a court-ordered discovery obligation.” Worldcom Network Servs., 205 F.R.D. at 143.

    3. Factors 3 and 4: Mr. Isaacs and Mr. Gleason’s Misconduct Lasted for Several
       Months and They Failed to Comply with Their Discovery Obligations Despite
       Several Warnings
          Mr. Isaacs and Mr. Gleason were warned by the Court many times that they would face

consequences for their repeated violations of their discovery obligations. See ECF No. 27 at 2

(“caution[ing] that future failures to meet the discovery deadlines set forth in the parties’ case

management plan or this Court’s rules of individual practice will not be tolerated”); ECF No. 30

at 2 (“If [] Plaintiff continues to neglect her responsibilities in this case, the Court will take

appropriate action at that time.”); ECF No. 42 (July 15, 2022 Tr.) at 18:18–20 (“I absolutely am

going to entertain sanctions motions because I think it’s ridiculous.”). While warnings are not

“an absolute condition precedent” to sanctions, Daval Steel Prods., 951 F.2d at 1366, “ample

warnings” may, as here, “demonstrate[] the ‘justice’ of the trial court’s order” imposing

sanctions. Ins. Corp. of Ireland, Ltd. v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 708

(1982).

          The Court’s warnings were, of course, only necessary due to Mr. Isaacs’ and Mr.

Gleason’s continued pattern of discovery misconduct, which began when they attempted to delay

discovery altogether by refusing their Rule 26 obligation to meet and confer with defense

counsel at the outset of the litigation. See supra at 5–6. The violations continued virtually

without exception as to every other discovery obligation and deadline preceding the termination

of this lawsuit. As such, factors three and four—“the duration of the noncompliance” and

“whether the non-compliant party had been warned that noncompliance would be sanctioned”—

clearly weigh in favor of heavy penalties. Penthouse Int’l, Ltd., 663 F.2d at 390 (holding it was

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appropriate for the trial court to consider a party’s “long history of obstruction of discovery” in

weighing Rule 37 sanctions for violation of a court order); Ins. Corp. of Ireland, Ltd., 456 U.S. at

708 (affirming sanctions award where “fail[ure] to comply with the discovery order . . . coupled

with the ample warnings, demonstrates the ‘justice’ of the trial court’s order”).

C.      The Dismissal of the Action with Prejudice Does Not Lessen the Need for Sanctions

        “That plaintiff[] subsequently moved to dismiss [her] claims voluntarily cannot post hoc

excuse their discovery failures or otherwise lessen the need to impose Rule 37 sanctions.”

Quadrozzi v. City of New York, 127 F.R.D. 63, 77 (S.D.N.Y. 1989). In such circumstances, “a

Rule 37 sanctions award is not unjust because such claims pertain to discovery expenses already

and unjustifiably incurred.” Id. at 77–78. Further, “even though the claims . . . have now been

dismissed, imposition of [Rule 37] sanctions in this case is permissible to deter further non-

compliance from other parties and non-parties in this case, and parties in other cases more

generally.” City of Almaty, Kazakhstan v. Ablyazov, 2020 WL 5269554, at *4 (S.D.N.Y. Sept. 3,

2020). Defendant will never be made financially whole for the expenses he incurred as a result

of Mr. Isaacs’ and Mr. Gleason’s discovery violations (not to mention the reputational harm of

this meritless lawsuit filed apparently without any pre-suit investigation). Nor does Defendant

seek such an award, which would run into the many hundreds of thousands of dollars. Instead, a

sanctions award sufficient to deter Plaintiff’s counsel’s future misconduct in other actions—such

as the modest award requested here—is fully justified. A sanctions award here would also serve

to deter other litigants from disobeying court orders and ignoring valid discovery requests. See

Nat’l Hockley League v. Metro. Hockey Club, Inc., 427 U.S. 639, 643 (1976) (sanctions are

necessary to deter “other parties to other lawsuits” from flouting “other discovery orders of other

district courts”).



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                                       CONCLUSION

       For the foregoing reasons, the Court should award Defendant sanctions against Mr. Isaacs

and Mr. Gleason in the amount of $50,000, plus fees incurred in bringing this motion.

Dated: October 3, 2022                      Respectfully submitted,
       New York, NY                         GIBSON, DUNN & CRUTCHER LLP



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